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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                  07/16/2025
                                                                       :
BLAKE LIVELY,                                                          :
                                                                       :
                                    Plaintiff,                         :
                                                                       :         24-cv-10049 (LJL)
                  -v-                                                  :
                                                                       :             ORDER
WAYFARER STUDIOS LLC, JUSTIN BALDONI,                                  :
JAMEY HEATH, STEVE SAROWITZ, IT ENDS WITH :
US MOVIE LLC, MELISSA NATHAN, THE AGENCY :
GROUP PR LLC, JENNIFER ABEL, JED WALLACE, :
STREET RELATIONS INC.,                                                 :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

LEWIS J. LIMAN, United States District Judge:

        The Clerk’s Office has notified the Court that it has received a motion from the

anonymous owner of a certain Youtube account to quash a subpoena issued to Google seeking

information regarding that Youtube account. The motion is captioned with the case number of

this action. It was submitted anonymously by email to the pro se filing office and does not

contain information identifying the movant.

        Parties in federal court generally must identify themselves by name, unless a court has

determined that the party’s interest in anonymity outweighs the public interest in disclosure and

any prejudice to the opposing party. See Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185,

188–89 (2d Cir. 2008). Accordingly, the Court will not entertain the motion to quash unless it is

either de-anonymized or accompanied by a motion requesting leave to proceed anonymously in

this Court and explaining why the movant’s interest in anonymity outweighs the public interest

in disclosure and any prejudice to the opposing party. See id.
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         The Clerk’s Office is directed to respond to the anonymous email with a copy of this

Order.

         SO ORDERED.

Dated: July 16, 2025                                 __________________________________
       New York, New York                                       LEWIS J. LIMAN
                                                            United States District Judge




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